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          APPENDIX
                                                                                              TIMELINE
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                                                                                                             September 24, 2007                                      March 27, 2009
                              February 9, 2004                     July 31, 2006

                             Defendants & Co-                 Botvin I Clerk’s Entry of                      Botvin I Order: Liability
                                                                                                                                                                  Botvin I Order:
                             Counsel Retained                 Default                                        Established
                                                                                                                                                                  Conversion to § 1605A
                                                                                                                                                                  Denied, choice of law
                                                                                                                                                                  briefing ordered
                                        January 31, 2005                        October 15, 2006
                                                                                                                                           March 21, 2008
                                      Botvin I § 1605(a)(7)                  Botvin I Motion for Liability
                                      Complaint                              Judgment based on                                     Botvin I Motion for Entry of
                                                                             Campuzano                                             Judgment and Motion to
                                                                                                                                                                               May 28, 2009
                                                                                                                                   convert to § 1605A
                                                                                                                                                                          Botvin I Supp’l Motion for
  September 4, 1997                                                                                                                 March 24, 2008                        Default Judgment
                                                                                                                                    Botvin II §1605A
Ben Yehuda Mall Attack
                                                                                                                                    Complaint




2003                2004                    2005              2006                           2007                            2008                         2009
                                                                                                                                         January 21, 2008

                                                                                                                                  28 USC § 1605A Enacted



                     January 16, 2004
                     Cicippio-Puleo
                     decision


                                                                                                                                                                           July 28, 2009
 September 10, 2003                                                                                                                                                       Oveissi decision
 Campuzano & Rubin
 Judgment
                                                                                             TIMELINE
                                                              Case 1:21-cv-03186-RCL Document 5-2 Filed 02/11/22 Page 3 of 3




 February 16, 2010          March 25, 2011                                                    July 3, 2012                                                       April 4, 2013
Botvin I Order:                                                                           Botvin I $1,704,457
                         Botvin I Order: Upholding                                                                                                             Botvin III Judgment
Israeli Law Applies,
                         Application of Israeli                                           Judgment for Estate                      January 22, 2013
                                                                                                                                                               for $40.89 million for
Briefing Ordered
                         Law, Briefing Ordered                                                                                                                 Botvin Family
                                                                                                                               Botvin III Clerk’s Entry
                                                                                                                               of Default

                                                     September 15, 2011                                                                              March 19, 2013
       April 23, 2010                                Botvin I Supp’l Motion                             August 3, 2012                              Botvin III Motion for
                                                     for Default Judgment
                                                                                                                                                    Default Judgment
       Botvin II                                                                                        Botvin III § 1605A
       Dismissed                                                                                        Complaint




2010                    2011                                      2012                                                                2013
                                                                                                                August 10, 2012

                                                                                                                22 USC § 8772(b)
        June 8, 2010                                                                                            Enacted
                                                               April 2, 2012
       Peterson Filed
       in SDNY                                            Peterson Motion for
                                                          Partial Summary
                                                                                                                                                                                        October 19, 2016
                                                          Judgment
                                                                                                                                             February 28, 2013                          Peterson Main
                                                                                     June 1, 2012                                                                                       Distribution
                                                                                                                                          Peterson Partial Summary
                                                                              Peterson Settlement Agreement                               Judgment Granted
